                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                                 Plaintiff,

        v.
                                                                              Case No. 97-CR-225

DERRICK DEWAYNE TURNER,

                                 Defendant.


                                     DECISION AND ORDER


                The Defendant, Derrick Dewayne Turner (“Turner”), filed a pro se motion to

reduce his sentence relying upon retroactive amendment 706 to United States Sentencing

Guidelines (“Guidelines”) § 1D1.10, which lowered the base offense levels applicable to

cocaine base (“crack”) offenses, and 18 U.S.C. § 3582(c)(2).

                Subsequently, court-appointed counsel filed a motion to reduce sentence seeking

an order reducing the term of Turner’s imprisonment from 360 months to 292 months of

imprisonment on the grounds that the retroactive amendment changes the base offense level

in Turner’s presentence investigation report. Turner states that under the Guidelines at the

time of his March 3, 1999,1 sentencing, the Court determined that his base offense level was

36 and his criminal history category was II. The total offense level after enhancements for role

in offense (3) and obstruction of justice (2) was 41. This resulted in a sentence range of 360

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        The motion to reduce sentence states that the sentencing was March 4, 1999. The Court has corrected the
date.
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months to life. Turner states that under the new crack Guidelines, his offense level is 39 with

a criminal history score of II, and his new sentencing range is 292 to 365 months. Turner

requests that the Court incorporate Turner’s pro se motion including his progress reports in the

motion filed by counsel.

              The Court directed the Plaintiff, United States of America (the “United States”),

to file a response. On September 5, 2008, the United States filed a response indicating that,

while Turner is eligible for a sentence reduction, the Court should exercise its discretion and

deny Turner’s request for reduction based on his history and characteristics, and the concurrent

need to protect the community.

              Section 3582(c)(2) states:

              In the case of a defendant who has been sentenced to a term of
              imprisonment based on a sentencing range that has
              subsequently been lowered by the Sentencing Commission
              pursuant to 28 U.S.C. 994(o), upon motion of the defendant or the
              Director of the Bureau of Prisons, or on its own motion, the court
              may reduce the term of imprisonment, after considering the
              factors set forth in section 3553(a) to the extent that they are
              applicable, if such a reduction is consistent with applicable policy
              statements issued by the Sentencing Commission.

18 U.S.C. § 3582(c)(2) (emphasis added).

              On December 14, 1998, this Court found Turner guilty of count one of

conspiracy to possess, with intent to distribute in excess five kilograms of cocaine, cocaine

base, and methamphetamine, also known as “crack,” in violation of 21 U.S.C. §§ 841(a)(1)

and 846, and 18 U.S.C. § 2 and count two of possession with intent to distribute cocaine and

crack in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2. Turner was sentenced on March



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3, 1999. Under the Guidelines in effect as of the date of Turner’s sentencing, the quantity of

cocaine and crack placed Turner at an offense level of 36. That level, combined with other

Guideline enhancements, placed Turner at a total offense level of 41. Turner’s criminal

history category was II. See United States v. Turner, 203 F.3d 1010, 1019 (7th Cir 2000).

The Guideline imprisonment range was 360 months to life.

              Under the amended Guidelines, Turner’s offense level is 34. That level,

combined with the other prior Guidelines enhancements, places Turner at a total offense of

level 41. Turner’s criminal history category remains II. The Court has considered the

positions of the parties and concludes that it is appropriate to reduce Turner’s sentence in light

of the disparity of the sentence length given for crack offenses. The Court further concludes

that the appropriate reduced sentence is 310 months. Therefore, the Court GRANTS Turner’s

motion to reduce sentence. Turner’s previously imposed sentence of imprisonment of 360

months is reduced to 310 months. All other provisions of the sentence imposed on March 3,

1999, remain intact.

              Dated at Milwaukee, Wisconsin this 17th day of December, 2008.

                                                   SO ORDERED,




                                                   s/ Rudolph T. Randa
                                                   Hon. Rudolph T. Randa
                                                   Chief Judge




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